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AO 442 (Rev. 11/11) Arrest Warrant



                                         UNITED STATES DISTRICT COURT
                                                                   for the

                                                          District of &ROXPELD
                                                          Colorado Case: 21-mj-186-SKC
                  United States of America
                             v.                                      )
                                                                     )
                  Thomas Patrick Hamner
                                                                     )
                                                                     )
                                                                     )
                                                                     )
                            Defendant
                                                                                                          FILED
                                                        ARREST WARRANT                         UNITED STATES DISTRICT COURT
                                                                                                    DENVER, COLORADO
                                                                                                            11:08 am, Nov 09, 2021
To:      Any authorized law enforcement officer
                                                                                                  JEFFREY P. COLWELL, CLERK

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                      Thomas Patrick Hamner                                                ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment          u Information        u Superseding Information             ;
                                                                                                                       u Complaint
u Probation Violation Petition               u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
18 U.S.C. §§ 111(a)(1) and (b)- Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon or Inflicting
Bodily Injury
18 U.S.C. § 231(a)(3)- Civil Disorder
18 U.S.C. § 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds
18 U.S.C. § 1752(a)(4)- Engaging in Physical Violence in a Restricted Building or Grounds
                                                                                                          Zia M. Faruqui
Date:                                                                                                     2021.11.01 19:27:05 -04'00'
               1//2021
                                                                                            Issuing officer’s signature

City and state:                      :DVKLQJWRQ '&                        =LD 0 )DUXTXL, U.S. Magistrate Judge
                                                                                              Printed name and title


                                                                   Return

           This warrant was received on (date)                           , and the person was arrested on (date)
at (city and state)                                            .

Date:
                                                                                           Arresting officer’s signature



                                                                                              Printed name and title
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                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                         (Not for Public Disclosure)

Name of defendant/offender: Thomas Patrick Hamner
Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:                1973
Social Security number:
Height:                                                               Weight:       
Sex:       PDOH                                                          Race:         :KLWH

Hair:         UHG                                                        Eyes:         JUHHQ

Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency                         Federal Bureau of Investigation

,QYHVWLJDWLYH DJHQF\ DGGUHVV
Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):




Date of last contact with pretrial services or probation officer (if applicable):
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                                   STATEMENT OF FACTS

        Your affiant, Kevin Toups, is a Task Force Officer assigned to the Denver Federal Bureau
of Investigation (“FBI”) Field Office, Colorado Springs Resident Agency. Currently, I am a tasked
with investigating criminal activity in and around the U.S. Capitol grounds on January 6, 2021. As
a Task Force Officer with the FBI, I am authorized by law or by a Government agency to engage
in or supervise the prevention, detention, investigation, or prosecution of a violation of Federal
criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of


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scores of individuals inside the U.S. Capitol building without authority to be there, in violation of
Federal laws. Photographs and videos of several of these persons were disseminated via social
media and other open source online platforms.

        Earlier this day, at approximately 1:00 p.m., a crowd of violent rioters assembled on the
West Front of the U.S. Capitol. U.S. Capitol Police formed a line of bike racks extending from the
north end of the West Front to the south end to act as a barrier against the crowd. Officers were
standing watch behind this line and fending off repeated attempts by the rioters to pull on the bike
racks, either with their hands or with ropes and straps.

       Open-source video from outside of the Capitol Building on January 6, 2021 shows a white
male wearing a “Guns Don’t Kill People, Clintons Do” sweater and a black helmet with “S1” in
white on the side, as depicted below:




       The FBI located a Telegram account with the following profile photo, appearing to depict
the same individual in the same sweater at the Washington Monument:




                                                 2
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       The telephone number associated with this Telegram account was a phone number ending
          1
-5161. Records from Verizon confirm the phone number ending -5161 is subscribed to Thomas
Patrick HAMNER’s wife at the same address as HAMNER’s former home address on his
Colorado driver’s license. A law enforcement database also confirmed phone number ending -
5161 is associated with HAMNER. Additionally, phone number ending -5161 is the listed phone
number for a business in Colorado Springs, Colorado, which according to the Better Business
Bureau, shares the same address as HAMNER’s former home and is owned in principle by “Mr.
Tom Hamner.”

        On July 22, 2021, Witness-1, who has had personal contact with HAMNER, confirmed the
individual in videos, including the pictures depicted below, is Thomas Patrick HAMNER. Your
affiant has compared the individual in the pictures and videos referenced below to known
photographs of HAMNER, and the appearance and features of the individual in the pictures and
videos below are consistent with Thomas Patrick HAMNER. One such known photograph is a
customer comment HAMNER left with respect to a restaurant in Colorado Springs, as depicted
below:




1
    Due to the public nature of this filing, only the last four digits of the phone number is used.


                                                              3
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       Open-source video from January 6, 2021, depicts HAMNER fighting with officers from
the U.S. Capitol Police and D.C. Metropolitan Police, who were assisting U.S. Capitol Police at
the time, over a police barricade on the West Plaza, as depicted below:




       At approximately 1:40 pm, as officers continued to fend off repeated attempts by rioters to
breach the police line and assault the officers, the rioters moved a large metal “TRUMP” sign.
HAMNER is seen pushing the sign into the defensive line of officers, as depicted below:




                                                4
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                                     5
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        Based on the foregoing, your affiant submits that there is probable cause to believe that
Thomas Patrick HAMNER violated 18 U.S.C. §§ 111(a)(1) and (b), which makes it a crime to,
with a deadly or dangerous weapon, forcibly assault, resist, oppose, impede, intimidate or interfere
with a Federal law enforcement officer as designated in Section 1114 of Title 18, while engaged
in or on account of the performance of official duties and to aid and abet others. For purposes of
Section 1114 of Title 18, an officer or employee includes any person assisting such an officer or
employee in the performance of such duties or on account of that assistance.

        Your affiant submits there is also probable cause to believe that HAMNER violated 18
U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected

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function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation or action carried out under the laws of the United States, by any department,
agency or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.

        Additionally, your affiant submits that there is probable cause to believe that HAMNER
violated 18 U.S.C. § 1752(a)(1) and (4), which makes it a crime to (1) knowingly enter or remain
in any restricted building or grounds without lawful authority to do; and (4) knowingly engages in
any act of physical violence against any person or property in any restricted building or grounds
or attempts or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building”
includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the
President or other person protected by the Secret Service, including the Vice President, is or will
be temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.



                                                     _________________________________
                                                     Kevin Toups
                                                     Task Force Officer
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 1st day of November 2021.


                                                     ___________________________________
                                                     ZIA M. FARUQUI
                                                     UNITED STATES MAGISTRATE JUDGE




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AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                          District of &ROXPELD

                  United States of America                          )
                             v.                                     )
                                                                    )      Case No.
                 Thomas Patrick Hamner                              )
                    DOB: 6/1/1973                                   )
                                                                    )
                                                                    )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021             in the county of                              in the
                         LQWKH'LVWULFWRI      &ROXPELD , the defendant(s) violated:
             Code Section                                                     Offense Description
        18 U.S.C. §§ 111(a)(1) and (b)- Assaulting, Resisting, or Impeding Certain Officers Using a
        Dangerous Weapon or Inflicting Bodily Injury
        18 U.S.C. § 231(a)(3)- Civil Disorder
        18 U.S.C. § 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds
        18 U.S.C. § 1752(a)(4)- Engaging in Physical Violence in a Restricted Building or Grounds


         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                              Complainant’s signature

                                                                                      Kevin Toups, Task Force Officer
                                                                                              Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH

Date:             11/1/2021
                                                                                                Judge’s signature

City and state:                         :DVKLQJWRQ'&                          Zia M. Faruqui, U.S. Magistrate Judge
                                                                                              Printed name and title
